Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.5 Page 1 of 15




                 EXHIBIT A
                     Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.6 Page 2 of 15
                                          .                  ~~~-----------A_~i________P_L_D_-P_l-_00~1
             ATTORNEY OR PARTY WITHOUT ATTORNEY (N a .e Bar number, and address):                       -                                             FOR COURT USE ONLY
         - Robe·rt J. Pecora                    7       10'?!"6                   '
             Law Office of Robert J. Pecora                                                                     llo\,.   . . . ._.     - ·· · .




             7855 Ivanhoe Avenue, Suite 408
            La Jolla, CA 92037
          TELEPHONENO.: (858)        454-4014     FAXNO.(OptionaQ: (858) 454-3548
          E-MArL ADDREss(opoonaf):    robertjpecora@aol. corn
          ATTORNEYFOR(NameJ:       Plaintiff, Allen Harvey Abolafia                  ZDl9 APR -2 A q: 38
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
              sTREETADDRess, 325 South Melrose Drive                                tu: fl i ( · · t, ; '\,: l , ... '
                                                                                                                :--      •• •        ~ -"r · -    '    • ••   ••   ~   •   ' ;

              MA1t1NGAD0Ress, 325      South Melrose Drive                          SAN Oct-;;;[~              r·1;'·· h• ' • , . .
                                                                                                    .,ti';;..; ht_ wi-,;- !     l                                                _11


             c1TYAN021Pcooe, Vista,      CA 92081
                  aRANCHNAME: North County Regional Center
              PLAINTIFF: Allen Harvey Abolafia


              DEFENDANT:         Omni Hotels Managemen t Corporation; and

         ll)     DOES 1 TO ?fl
         COMPLAINT-Personal Injury, Property Damage, Wrongful Death
            •    AMENDED (Number):
         Type (check all that apply):
         •      MOTOR VEHICLE      [D OTHER (specify): Premises                            Liability
           •W      Property Damage
                   Personal Injury
                                         Wrongful Death •W
                                         Other Damages (specify):
                                                             loss of eniovrnent of ):if~.
          Jurisdiction (check all that apply):                                                              , CAS~ NUMeER:
         •    ACTION IS A LIMITED CIVIL CASE
              Amount demanded                   O
                                          does not exceed $10,000
                                                                                                               37-2019-0001684.7,iCU~e

                                                0
                                         exceeds $10,000, but does not exceed $~5,000
         [X) ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000}
         0 ACTION IS RECLASSIFIED by this amended complaint
               0   from limited to unlimited
               0   from unlimited to limited

    1.        Plaintiff(nameornames):               Allen Harvey Abolafia

             alleges causes of action againstdefendant (name or names):             Omni Hotels Managemen t Corporatio n;
             and DOES 1 TO 20
    2.This pleading, including attachments and exhibits, consists of the following number of pages: 6
    3.Each plaintiff named above is a competent adult
      a.         •
               except plaintiff (name):
              ( 1)          ••
                        a corporation qualified to do business in California
              (2)      an unincorporated entity (describe):
              (3)            D
                       a public entity (describe):
              (4)           D
                       a minor            an adult  O
- - - - - - -- -\.a}Gl-fo;-whom--a-guardiarrorconservatunJftne estate or a guardian ad litem has been appointed
                       (b)              D
                                  other (specify):
              (5)           D
                       other (specffy):

          b.    0     except plaintiff (name):
                      (1)   D     a corporation qualified to do business in California
                      (2)   D     an unincorporated entity {describe):
                      (3)
                      (4)
                            •D    a public entity {describe):
                                  a minor Dan adult
                                  (a) 0 for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                                  (b)  D   other (specify):
                     (5)    D     other (specify):

  D       Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                                       Page 1 of3
   Form Approved for Optional Use
    Judicial Council of California  CEB' IffiFonns-
                                          EssentJal
  PLD--Pl-001 {Rev. January 1, 2007] c.eb.com
                                                                  COMPLAINT-Personal Injury, Property
                                                                     Damage, Wrongful Death
                                                                                                                 Code of Civil Procedure, § 425.12
                                                                                                                               WWN.courtinTo.ca.gov
                                                                                                      Abolafia, Allen Harvey
                         Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.7 Page 3 of 15 PLD-Pl-001
                SHOijT TITLE:                                    r------ ---------t•;
            Abolafia v. Omni
           4.       0       Plaintiff (name):  _
                            is doing business under the fictitious name (specify):

                  and has complied with the fictitious business name laws.
           5. Each defendant named above is a natural person
              a.        W
                     except defendant (name):                                           c.   D    except defendant (name):
                              Omni Hotels Management Corporation
                              (1)   W     a business organization, form unknown                   (1)   0    a business organization, form unknown
                              (2)
                              (3)   ••    a corporation
                                          an unincorporated entity {describe):
                                                                                                  (2)
                                                                                                  (3)
                                                                                                        0
                                                                                                        D
                                                                                                             a corporation
                                                                                                             an unincorporated entity {describe):

                              (4)   •     a public entity (describe):                            (4)    0    a public entity (describe):

                              (5)   •     other (specify):                                       (5)    0    other (specify):




                 b.     D     except defendant (name):                                 d.    D   except defendant (name):

                             (1)    0    a business organization, form unknown                   (1)    D   a business organization, form unknown
                             (2)    D    a corporation                                           (2)    D   a corporation
                             (3)    0    an unincorporated entity (describe):                    (3)    D   an unincorporated entity (describe):

                             (4)    0    a public entity (describe):                             (4)    D   a public entity {describe):

                             (5)    D    other (specify):                                        (5)    D   other (specify):




                0   Information about additional defendants who are not natural persons is contained in Attachment 5.
       6.       The true names of defendants sued as Does are unknown to plaintiff.
                a. [XI Doe defendants (specify Doe numbers): 1 -1 0                              were the agents or employees of other
                          named defendants and acted within the scope of that agency or employment.
                b.      W Doe defendants (specify Doe numbers): 1 1 - 2 0                        are persons whose capacities are unknown to
                          plaintiff.
      7.        0   Defendants who are joined under Code of Civil Procedure section 382 are (names):




      8.        This court is the proper court because

-
        a.            •
               at least one defendant now resides in i~ts~ju~n~·s~d~ic~ti~on~a:l_!_l~a~re~a!:_
                                                                                           . - -,----- ~-:---:--::-----:---:---:--~--::----:-- - --
    --1>:-E)-the-principal-place of business of a aefendant corporation or unincorporated association is in its jurisdictional area.
                                                                                                                                                      -   - ---

        c.            !XI
              injury to person or damage to personal property occurred in its jurisdictional area.                          ·
        d.            •
              other (specify):




     9.     0         Plaintiff is required to comply with a claims statute, and
            a.
            b. 0
                 •      has complied with applicable claims statutes, or
                        is excused from complying because(specify):




     PLD-PHl01 [Rev. January 1. 2007]                         COMPLAINT-Personal Injury, Property                                                 Page 2 of 3


    Q!l~1::=                                                      Damage, Wrongful Death                       Abolafia, Allen Harvey
                      Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.8 Page 4 of 15
                                                            - -   -   - - - - - - - - - - 1 •- -                         - ------P_L_D-P_I-0_0~1
           SHOBT rrtLE:                                                                                  •      CASE NUMBER:
           Abolafia v. Omni
       10.         The following causes of action are attached and the statements above apply to each (each complaint must have one or more
                   causes of action attached):
                   a.  D     Motor Vehicle
                   b.  W     General Negligence
                   c.  D     Intentional Tort
                   d.  D    Products liability
                   e.  IXJ  Premises Liability
                   f.  D    other (specify) :




      11.       Plaintiff has suff'.ered
               a.
               b.
                      •D   wageloss
                            loss of use of property
               C.   IX) hospital and medical expenses
               d. IX) general damage
               e.     D    property damage
               f.     D    loss of eaming capacity
               g. [XJ other damage (specify) :
                               loss of enjoyment of life



     12.      D       The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
              a.      D   listed in Attachment 12.
              b.      D   as follows:




    13.       The relief sought in this complaint is within the jurisdiction of this court.




    14.       Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
              a.     (1)   W    compensatory damages
- - - - -(2)0 punitive damages
                     The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
                     (1) [XI according to proof
                     (2)   D in the amount of: $

   15.        •      The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):
                     1 . Genera l Negl i g e n ce; 2 . Premi ses Liability.



     March 18, 2019
  Date:

  Robert J Pecora
                                     (TYPE OR PRINT NAME)

  PLD.Pl-001 [Rev. January 1, 200n                          COMPLAINT.Personal Injury, Prope                                            Page 3 of 3

  cm· I.,0Essential
  Cl!ti.olm FonnS'"
                                                               Damage, Wrongful Death
                                                                                                             Abolafia, Allen Harvey
                  Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.9 Page 5 of 15PLD-Pl-001 (2)
        SHORTT! LE:                                •                                           'cASE NUMBER:

       Abolafia v. Omni Hotels

                    First                                CAUSE OF ACTION- General Negligence                    Page _4_ _ __
                      (number)
               ATTACHMENT TO IX) Complaint                 O     Cross-Complaint

               (Use a separate cause of action form for each cause of action.}

               GN-1. Plaintiff (name} : Allen Harvey Abolafia

                       alleges that defendant (name):      Omni Hotels Management Corporation; and




                                  IXI Does       .]___      to   -2~0~-- -
                      was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                      negligently caused the damage to plaintiff
                      on {date): August 29, 2018
                      at(place):    Omni La Costa Resort & Spa l ocated at 2100 Costa Del Mar Road, Carlsbad, CA 92009

                     (description of reasons for liability} :
                     Plaintiff, Allen Harver Abolafia, while walking toward the
                     7th tee box at the Omni La Costa Resort & Spa golf course,
                     located at 2100 Costa Del Mar Road in Carlsbad, California
                     92009, was injured when Defendants, and each of them, so
                     carelessly and negligently inspected, repaired, maintained,
                     owned,controlled, and marked the premises in such a manner
                     that Plaintiff stepped into an unmarked construction hole
                     adjacent to and hidden by a cement curb, all of which proximately
                     caused Plaintiff to trip and fall forward with his heal stuck in
                     the hole, and caused a serious injury to Plaintiff.




                                                                                                                                    Page f of 1
  Form Approved for Optional Use                         CAUSE OF ACTION- General Negligence                        Code of Civil Procedure 425.12
   Judicial Council of California
PlD..Pl-001(2) [Rev. January 1. 200n
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                                             ~ssentla~
                                       ceb.com
                                                                                                                             www.CtJurtinfo.ca.gov

                                                                                               Abolafia, Allen Harvey
               Case 3:19-cv-01923-W-KSC
       . - - - - - - -1 - ; - - - - - ·~
                                           Document 1-2 Filed 10/02/19 PageID.10 Page 6 of 15
                                      ~ - - -------------1•1-,r--------P~L~D~-P_l~~0~1~(4..:.,,)
         SH,PRT 11TLE:                                                                              •        CASE NUMBER:

         Abolafia¥. Omni H9tels

                   second                                    CAUSE OF ACTION - Premises Liability                                     Page _5.,____
                              (number)

            ATTACHMENT TO IX) Complaint                           O
                                                      Cross-Complaint
            (Use a separate cause of action form for each cause of action.)



            Prem.L-1. Plaintiff(name): Allen Harvey Abolafia
                      alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                     On {date): August 2 9 , 2018                     plaintiff was injured on the following premises in the following

                         fashion {description of premises and circumstances of injury):
                         Plaintiff, Allen Harvey Abolafia, while walking within the 7th tee box at the Omni
                         La Costa Resort & Spa golf course, located at 2100 Costa Del Mar Road in Carlsbad,
                         California 92009 was inju~ed when Defendants, and each of them, so carelessly
                         and negligently inspected, repaired, maintained, owned, controlled, and marked the premises in
                         such a manner that Plaintiff stepped into an umnarked construction bole adjacent to and
                         hidden by a cement curb all of which proximately caused Plaintiff to fall ·to trip and fall
                         forward with his heal stuck in the hole, causing a serious injury to Plaintiff.

           Prem.L-2.         fXI    Count One-Negligence The defendants who negligently owned, maintained, managed and operated
                                    the described premises were (names):
                                    Omni Hotels Management Corporation; and

                                   W       Does                       to _ _J~Q___

          Prem.L-3.          0     Count Two-Willful Failure to Wam [Civil Code section 846] The defendant owners who willfully or
                                   maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                                   (names):



                                   D    Does                   to _ _ _ __
                                   Plaintiff, a recreational user, was     D
                                                                         an invited guest   W    a paying guest.

          Prem.L-4.         •      Count Three-Dangerous Condition of Public Property The defendants who owned public property on
                                   which a dangerous condition existed were (names):




                                            D       Does          ___     to _ _ _ __
                                  a.   0
                  Thedefendantpublicentityhad                                  D
                                                         actual [X) constructivenoticeoftheexistenceofthe
                  dangerous condition in sufficient time prior to the in'u to have correct
-----------:lr.G--r e con I0n was created by employees of the defendant public entity.
         Prem.L-5. a.       IX) Allegations about Other Defendants       The defendants who were the agents and employees of the other
                                  defendants and acted within the scope of the agency were (names):




                                 IX) Does _.______ to ...   l~D~---
                       b.   W    The defendants who are liable to plaintiffs for other reasons and the reasons for their liability a~e
                                 (X) described in attachment Prem.L-5.b              D
                                                                                    as follows (names):




                                                                                                                                             Page 1 of 1

        ~~a1=1~~tf~!1•°                                      CAUSE OF ACTION - Premises Liability
                                                                                                                            Code of Civil Procedure, § 425.12
                                                                                                                                      www.courtinfo.ca.gov
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                                        Cl!b.com   ~ Forms·                                        Abolafia, Allen Harvey
                  Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.11 Page 7 of 15
                                                                                                                                     MC-025
        SHORT TITLE:                                                                             CASE NUMBER;
          Abolafia                v.   Omni Hotels

                                                         ATTACHMENT (Number} : PI.Sb
                                             (This Attachment may be used with any Judicial Council form.)

     Plaintiff is unaware of the true names and capacities of Defendants
     Does 1-20 and therefore sues them by fictitious names. Plaintiff is
     informed and believes and thereon alleges that those Defendants, and
     each of them, are in some way responsible for Plaintiff's injuries and
     damages. Plaintiff will amend this complaint to allege the true names
     and capacities of those Defendants when they have been ascertained.




 (If the item that this Attachment concerns is made under penalty of perjury, all statements in this                Page .6____ of _6__
 Attachment are made under penally ofperjury.)                                                                  {Add pages as required}
Fom, Approved for Optional Use
 Judicial Council of California
                                                                ATTACHMENT                                               www.courtinfo.ca.gov
  MC-025 [Rev. July 1, 2009)                               to Judicial Council Form
as· IIDForms·
ceb.o,m
           E~tial                                                                                 Abolafia, Allen Harvey
Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.12 Page 8 of 15




                  EXHIBIT B
         -       Case 3:19-cv-01923-W-KSC
                                     , ;:'\ Document 1-2 Filed 10/02/19 ·::--.\,--_

                                               •
                                           (CITA
                                                          !:,1MONS
                                                        ON JUDICIAL)
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                                                                                                         -1_0~0
                                                                                                                                            FOR COURT USE ONLY
                                                                                                                                     {S<;,LO PARA USO DE LA CORTE)


     NOTICE TO DEFE.NDANT:
     (AV/SO AL DEMANDADO):
      Omni Hotels Management Corpor ation;
   ' --aridboEs 1 TO 2 0
                                                                                                                                               2011 APR - 2 A 9: 38
     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL DEMAN{)ANTE):                                                                                                    r.: 1 ~. ~: >• <; '. .
                                                                                                                                                           I~ •             . ,• .., '
     Allen Harvey Abolafia                                                                                                                             r
                                                                                                                                               s.1, ~ a.:~:j :_- •.:_i ·1 . \_   •   i.


        NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
        below.
           You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
        served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
        case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
        Online Self-Help Center (www.courtinfo.ca.gov/se/fhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee. ask
       the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
       may be taken without further warning from the court.
           There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
      (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      1A V/SOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informacion a
      continuacion.
          Tiene 30 DfAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
      corte y hacer que se entregue una copia al demandante. Una carta o una Hamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
    · en formato legal coffecto si desea que procesen su caso en /a corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
      Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California {www.sucorte.ca.gov), en la
      biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
      que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
      poclra quit ar su sue/do, dinero y bienes sin mas advertencia,
          Hay otros requlsitos legates. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
     remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
     programa de servicios legates sin fines de /ucro. Puede encontrar estos grupos sin fines de lucro en el slllo web de California Legal Services,
     {www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
     colegio de abogados locales. A VISO: Por fey, la corte tiene derecho a reclamar las cuotas y /os costos exentiSs por imponer un gravamen sobre
     cualquier recuperaci6n de $1 O, 000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje eh un caso de derecho civil. Tiene que
     pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                                      CASE NUMBER
   The name and address of the court is:                                                                              /Numero de/ Caso):
   (El nombre y direcci6n de la corte es):                                                                              37-2019-0001.6847:.CU:.PO-NC
   Superior Court of California, San Diego
   325 South Melrose Dri ve
   Vista, CA 92081
   The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
   (El nombre, la direcci6n y el numero de te/efono de/ aboqado de/ demandante,                      o def demandante que no tiene abogado, es):
   Rob ert J. Pecora 106167 Law Office of Robert J . Pecora
   7855 Ivanhoe Avenue, Suite 408 (858) 454-4014
   La Jolla , CA 92037
- · DAl=E.                                APR-----J-20:19                                Cieri<, by                             @.-~olfe                                   , Deputy
    'Fecha                                                                 Secretario - - - - - -- -- - -- -- - - 'Ad.unto
   (For proof of service of this summons, use Proof of Service of Summons (form POS-010).
   (Para prueba de entrega de esta cifaci6n use el formulario Proof of Service of Summons, (POS-010)).
   [SEAi.]
                                          1.
                                          2.
                                               8
                                          NOTICE TO THE PERSON SERVED: You are served
                                                as an individual defendant.
                                                as the person sued under the fictitious name of (specify):

                                                                                             \..-1-o\ .S   '('()l\.r,~A ::,, ~     {l)\"'t)f\\'vtht5n
                                          3. ~ on behalf of (specify):0 1 1 ' 1 ,\ ~V\l;./L                          e,;n                  ', ~
                                                                               1"\/\V\   \


                                             under: ~ CCP 416.10 (corporation)
                                                         CCP 416.20 (defunct corporation)
                                                                                             J
                                                                                                                            §      CCP 416.60 (minor)
                                                                                                                                   CCP 4 16.70 (conservatee)
                                                         CCP 416.40 {association or partnership)                                   CCP 416.90 {authorized person)
                                                         other (specify}:
                                          4.   ~    by personal delivery on (d~te):          ¼·-'i,'-)..o \ (i                                                          Pago 1 of 1
                                                                          SUMMONS                                                           Code of Civil Prooedure §§412.20, 465
                                                                                                                                                             www.courtinfo.ca.gov
                                                                                                                      Abolafia, Allen Harvey
Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.14 Page 10 of 15




                    EXHIBIT C
Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.15 Page 11 of 15


 1   ROBERT J. HANNA, Bar No. 66105
     robert.hanna@bbklaw.com
                                                                   ELECTRONICALLY FILED
 2   MATTHEW L. GREEN, Bar No. 227904                                Superior Court fi f California,
     matthew.green@bbklaw.com                                                            •
                                                                        County Qf San iei;io
 3   WHITNEY R. BLACKHURST, Bar No. 295239                           0510812019 at •2: 14:D• PM
     whitney.blackhurst@bbklaw.com
 4   BEST BEST & KRIEGER LLP                                         Clerk of tl'le Superior Court
                                                                  By Carl!Js Terri!:1uez, Deputy Clerk
     655 West Broadway, 15th Floor
 5   San Diego, California 92101
     Telephone: (619) 525-1300
 6   Facsimile: (619) 233-6118

 7   Attorneys for Defendant
     OMNI HOTELS MANAGEMENT
 8   CORPORATION

 9                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                   COUNTY OF SAN DIEGO, NORTH COUNTY REGIONAL CENTER
11

12   ALLEN HARVEY ABOLAFIA,                        Case No. 37-2019-00016847-CU-PO-NC
                                                   Judge: Earl H. Maas, III
13                      Plaintiff,                 Dept.: N-28

14            v.                                   DEFENDANT OMNI HOTELS
                                                   MANAGEMENT CORPORATION'S
15   OMNI HOTELS MANAGEMENT                        ANSWER TO COMPLAINT
     CORPORATION; and DOES 1 TO 20,
16   inclusive,                                    IMAGED FILE

17                      Defendants.                Complaint Filed: April 2, 2019
18

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                   DEFENDANT OMNI HOTELS MANAGEMENT CORPORATION'S ANSWER TO COMPLAINT
                Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.16 Page 12 of 15


                 1             Defendant Omni Hotels Management Corporation ("Omni") hereby answers the

                 2   Complaint filed by Plaintiff Allen Harvey Abolafia ("Plaintiff') as follows:

                 3                                           GENERAL DENIAL

                 4             Pursuant to Code of Civil Procedure section 431.30, subdivision (d), Omni generally and

                 5   specifically denies each and every allegation in the unverified Complaint, and further denies that

                 6   Plaintiff has sustained damages in the amounts alleged, or in any amount, or is entitled to any of

                 7   the relief requested, or to any other relief of any kind or nature, by reason of any act, action,

                 8   omission or breach of duty on the part of Omni, or on the part of any agents or employees of

                 9   Omni.

                10                                        AFFIRMATIVE DEFENSES
      It:
      o ...
   a..9~        11            As a separate and distinct affirmative defense to each allegation, purported cause of
   ..JU.N
   ..JJ:a,
u.0::1--<
o~~z            12   action, and claim set forth in the Complaint, Omni alleges the following against Plaintiff. Unless
Cl) w .It:
Wo::~ft
2::.:::3:'.:j   13   expressly limited, each of the defenses set forth applies to each and every purported cause of
tl:oiso<
01--<c.>
~(1)00
:5Wlt:(.!)
  co cow
                14   action set forth in the Complaint.
   1--1--  -
   Cl) Cl) 0
   W~z
   co <(        15                                   FIRST AFFIRMATIVE DEFENSE
      Ill Cl)
      Ill
      (t)
                16             As a first affirmative defense, the Complaint, and each purported cause of action

                17   contained therein, fails to allege facts sufficient to state a cause of action against Omni.

                18                                  SECOND AFFIRMATIVE DEFENSE

                19             As a second affirmative defense, Plaintiff has failed, and continues to fail, to use

                20   reasonable care and diligence to mitigate the losses, if any, and damages, if any, alleged by him in

                21   the Complaint.

                22                                   TIDRD AFFIRMATIVE DEFENSE

                23             As a third affirmative defense, the Complaint is barred because Plaintiff failed to exercise

                24   reasonable and ordinary care, caution, or prudence for his safety in order to avoid the alleged

                25   accident. The resulting injuries and damages, if any, sustained by Plaintiff were proximately

                26   caused and contributed to by the negligence of Plaintiff.

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                                   DEFENDANT OMNI HOTELS MANAGEMENT CORPORATION'S ANSWER TO COMPLAINT
                  Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.17 Page 13 of 15


                   1                                 FOURTH AFFIRMATIVE DEFENSE

                   2            As a fourth affirmative defense, the Complaint is barred because Plaintiff assumed the risk

                   3   of his alleged injuries.

                   4                                  FIFTH AFFIRMATIVE DEFENSE

                   5            As a fifth affirmative defense, the Complaint is barred by the statute of limitations,

                   6   including, but not limited to, the statute of limitations under Code of Civil Procedure section

                   7   335.1.
                   8                                  SIXTH AFFIRMATIVE DEFENSE

                   9            As a sixth affirmative defense, Omni was justified in doing any and/or all acts alleged in

                  10   the Complaint.
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  a..9~           11                                SEVENTH AFFIRMATIVE DEFENSE
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u.0::1-<          12            As a seventh affirmative defense, Omni acted in good faith at all times material herein,
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~~~~              13   based on all relevant facts and circumstances known by it at the time it so acted.
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                                                     EIGHTH AFFIRMATIVE DEFENSE
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    III   <       15            As an eighth affirmative defense, to the extent Plaintiff incurred or sustained any
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                  16   damages, which Omni denies, any act, conduct, or omission, if any, on the part of Omni, was

                  17   neither a substantial factor in bringing about, nor a contributing cause of, such damages.

                  18                                  NINTH AFFIRMATIVE DEFENSE

                  19            As a ninth affirmative defense, any damages Plaintiff may have sustained were the result,

                  20   in whole or in part, of conduct by other parties for whom Omni is not legally responsible.

                  21                                  TENTH AFFIRMATIVE DEFENSE

                  22            As a tenth affirmative defense, the Complaint is barred by the doctrine of waiver.

                  23                               ELEVENTH AFFIRMATIVE DEFENSE

                  24            As an eleventh affirmative defense, the Complaint is barred in whole or in part to the

                  25   extent Plaintiff released the claims therein.

                  26                                TWELFTH AFFIRMATIVE DEFENSE

                  27            As a twelfth affirmative defense, Omni expressly reserves the right to assert additional

                  28   affirmative defenses in the event investigation and discovery reveal that they would be
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                                   DEFENDANT OMNI HOTELS MANAGEMENT CORPORATION'S ANSWER TO COMPLAINT
                 Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.18 Page 14 of 15


                  1   appropriate.

                  2             WHEREFORE, Omni prays as follows:

                  3             1.         That Plaintiff take nothing by reason of the Complaint;

                  4             2.         That Omni take judgment against Plaintiff;

                  5             3.         That Omni recover the costs of suit incurred herein; and

                  6             4.         For such other and further relief as the Court deems proper.

                  7   Dated: May 8, 2019                                      BEST BEST & KRIEGER LLP
                  8

                  9                                                           By:    W.{)~
                                                                                    ROBERT J. HANNA
                 10                                                                 MATTHEWL. GREEN
     0:::
     0.,...                                                                         WHITNEY R. BLACKHURST
  Q.g;:!         11                                                                 Attorneys for Defendant
  ....IU.N
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                                     DEFENDANT OMNI HOTELS MANAGEMENT CORPORATION'S ANSWER TO COMPLAINT
                       Case 3:19-cv-01923-W-KSC Document 1-2 Filed 10/02/19 PageID.19 Page 15 of 15


                        1   Allen Harvey Abolafia v. Omni Hotels Management Corp.
                            San Diego Superior Court, North County Case No. 37-2019-00016847-CU-PO-NC
                        2
                                                                        PROOF OF SERVICE
                        3
                                     I, Jannine South, declare:
                        4
                                     I am a citizen of the United States and employed in San Diego County, California. I am
                        5   over the age of eighteen years and not a party to the within-entitled action. My business address
                            is 655 West Broadway, 15th Floor, San Diego, California 92101. On May 8, 2019, I served a
                        6
                            copy of the within document(s):
                        7
                                          DEFENDANT OMNI HOTELS MANAGEMENT CORPORATION'S
                        8                 ANSWER TO COMPLAINT

                        9
                                               By United States mail. I enclosed the documents in a sealed envelope or package
                       10                      addressed to the persons at the addresses listed below (specify one):
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                                                     •   Deposited the sealed envelope with the United States Postal Service, with the
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ai~mci                 14                                collecting and processing correspondence for mailing. On the same day that
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                                                         envelope with postage fully prepaid.
                       16

                       17            Robert J. Pecora, Esq.                          ATTORNEYS FOR PLAINTIFF
                                     Law Office of Robert J. Pecora                  ALLEN HARVEY ABOLAFIA
                       18            7855 Ivanhoe Avenue, Suite 408
                                     La Jolla, California 92037                      Tel: (858) 454-4014
                       19                                                            Email: robertjpecora@aol.com

                       20

                       21            I declare under penalty of perjury under the laws of the State of California that the above

                       22   is true and correct.

                                     Executed on May 8, 2019, at San Diego, California.
                       23

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                                                                            PROOF OF SERVICE
